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                         IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF ARKANSAS
                                  WESTERN DIVISION


UNITED STATES OF AMERICA                                                                PLAINTIFF


v.                                     No. 4:04CR00134-4 GH


MIKEL M. MUDALLAL                                                                     DEFENDANT


                                              ORDER

       By order filed on May 9th, the Court granted defendant’s motion to temporarily modify the

conditions of his release and to release his passport so that he can travel to Amman, Jordan to attend

his brother’s surgery and to stay for a period of two to three weeks. Defendant had represented in

his motion that his wife and children will not travel to Jordan and will stay in Torrance, California

where they live. The Court directed the probation officer supervising defendant to impose any

conditions deemed necessary to insure that defendant will return to the United States.

       After further review, the Court is persuaded that the condition of defendant’s pretrial release

that defendant’s family submit their passports to the supervising probation officer should be imposed

as a condition now. Therefore, the granting of defendant’s motion to temporarily modify the

conditions of his release and to release his passport so he can travel to Jordan is conditioned on

defendant’s family in California submitting their passports to the supervising probation officer

before defendant is issued a travel permit. The family’s passports will be returned to them once

defendant submits his passports to the probation office upon his return to the United States.




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IT IS SO ORDERED this 11th day of May, 2006.



                                         ________________________________
                                         UNITED STATES DISTRICT JUDGE




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